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   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11    CARLTON W. HENDERSON,                       Case No. 2:18-cv-05390-MWF-KES
  12                Petitioner,
  13          v.                                   ORDER ACCEPTING REPORT AND
                                                     RECOMMENDATION OF U.S.
  14    WARDEN L. MONTGOMERY,                           MAGISTRATE JUDGE
  15                Respondent.
  16
  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition (Dkt. 1), the
  18   other records on file herein, and the Report and Recommendation of the U.S.
  19   Magistrate Judge. Further, the Court has engaged in a de novo review of those
  20   portions of the Report and Recommendation (Dkt. 78) to which objections (Dkt.
  21   89) have been made, as well as Petitioner’s Request for the Issuance of a Certificate
  22   of Appealability (Dkt. 96). The Court accepts the report, findings, and
  23   recommendations of the Magistrate Judge.
  24         IT IS THEREFORE ORDERED that Judgment be entered denying the
  25   Petition and dismissing this action with prejudice.
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  27   DATED: April 21, 2021                  ____________________________________
  28                                          MICHAEL W. FITZGERALD
                                              United States District Judge
